                            Case 3:18-cv-00828-MHL Document 10-9 Filed 03/19/19 Page 1 of 4 PageID# 134

                                                                      g
HH-1. Households by Type: 1940 to Present
(Numbers in thousands)

For more information about ASEC, including the source and accuracy statement, see the technical documentation accessible at:
https://www.census.gov/programs-surveys/cps/technical-documentation/complete.html

                                            Family households                                    Nonfamily households
                                                           Other family
                    Total                Married            Male        Female                            Male         Female
Year          households        Total    couples     householder householder             Total     householder     householder
2018             127,586      83,088      61,241           6,424        15,423         44,498           21,017          23,481
2017             126,224      82,827      60,804           6,452        15,572         43,396           20,539          22,858
2016             125,819      82,184      60,251           6,310        15,622         43,635           20,542          23,093
2015             124,587      81,716      60,010           6,162        15,544         42,871           20,143          22,728
2014s            123,229      81,353      59,629           6,304        15,420         41,877          19,658          22,219
2013             122,459      80,902      59,204           6,229        15,469         41,558          19,747          21,810
2012             121,084      80,506      58,949           5,888        15,669         40,578          19,195          21,383
2011r            119,927      79,539      58,656           5,648        15,235         40,388          18,968          21,420
2011             118,682      78,613      58,036           5,559        15,019         40,069          18,835          21,234
2010             117,538      78,833      58,410           5,580        14,843         38,705          18,263          20,442
2009             117,181      78,850      59,118           5,252        14,480         38,331          17,694          20,637
2008             116,783      77,873      58,370           5,100        14,404         38,910          17,872          21,038
2007             116,011      78,425      58,945           5,063        14,416         37,587          17,338          20,249
2006             114,384      77,402      58,179           5,130        14,093         36,982          16,753          20,230
2005             113,343      76,858      57,975           4,901        13,981         36,485          16,543          19,942
2004             112,000      76,217      57,719           4,716        13,781         35,783          16,136          19,647
2003             111,278      75,596      57,320           4,656        13,620         35,682          16,020          19,662
2002             109,297      74,329      56,747           4,438        13,143         34,969          15,579          19,390
2001e            108,209      73,767      56,592           4,275        12,900         34,442          15,345          19,097
2000             104,705      72,025      55,311           4,028        12,687         32,680          14,641          18,039
1999             103,874      71,535      54,770           3,976        12,789         32,339          14,368          17,971
1998             102,528      70,880      54,317           3,911        12,652         31,648          14,133          17,516
1997             101,018      70,241      53,604           3,847        12,790         30,777          13,707          17,070
1996              99,627      69,594      53,567           3,513        12,514         30,033          13,348          16,685
1995              98,990      69,305      53,858           3,226        12,220         29,686          13,190          16,496
1994              97,107      68,490      53,171           2,913        12,406         28,617          12,462          16,155
1993r             96,426      68,216      53,090           3,065        12,061         28,210          12,297          15,914
1993              96,391      68,144      53,171           3,026        11,947         28,247          12,254          15,993



                                                                                                                                 9
                 Case 3:18-cv-00828-MHL Document 10-9 Filed 03/19/19 Page 2 of 4 PageID# 135


1992    95,669     67,173   52,457       3,025     11,692    28,496      12,428       16,068
1991    94,312     66,322   52,147       2,907     11,268    27,990      12,150       15,840
1990    93,347     66,090   52,317       2,884     10,890    27,257      11,606       15,651
1989    92,830     65,837   52,100       2,847     10,890    26,994      11,874       15,120
1988a   91,124     65,204   51,675       2,834     10,696    25,919      11,282       14,637
1988    91,066     65,133   51,809       2,715     10,608    25,933      11,310       14,624
1987    89,479     64,491   51,537       2,510     10,445    24,988      10,652       14,336
1986    88,458     63,558   50,933       2,414     10,211    24,900      10,648       14,252
1985    86,789     62,706   50,350       2,228     10,129    24,082      10,114       13,968
1984b   85,290     62,015   50,081       2,038      9,896    23,276       9,689       13,587
1984    85,407     61,997   50,090       2,030      9,878    23,410       9,752       13,658
1983    83,918     61,393   49,908       2,016      9,469    22,525       9,514       13,011
1982    83,527     61,019   49,630       1,986      9,403    22,508       9,457       13,051
1981    82,368     60,309   49,294       1,933      9,082    22,059       9,279       12,780
1980c   80,776     59,550   49,112       1,733      8,705    21,226       8,807       12,419
1980    79,108     58,426   48,180       1,706      8,540    20,682       8,594       12,088
1979    77,330     57,498   47,662       1,616      8,220    19,831       8,064       11,767
1978    76,030     56,958   47,357       1,564      8,037    19,071       7,811       11,261
1977    74,142     56,472   47,471       1,461      7,540    17,669       6,971       10,698
1976    72,867     56,056   47,297       1,424      7,335    16,811       6,548       10,263
1975    71,120     55,563   46,951       1,485      7,127    15,557       5,912        9,645
1974    69,859     54,917   46,787       1,421      6,709    14,942       5,654        9,288
1973    68,251     54,264   46,297       1,432      6,535    13,986       5,129        8,858
1972    66,676     53,163   45,724       1,331      6,108    13,513       4,839        8,674
1971    64,778     52,102   44,928       1,254      5,920    12,676       4,403        8,273
1970    63,401     51,456   44,728       1,228      5,500    11,945       4,063        7,882
1969    62,214     50,729   44,086       1,221      5,422    11,485       3,890        7,595
1968    60,813     50,012   43,507       1,195      5,310    10,801       3,658        7,143
1967    59,236     49,086   42,743       1,190      5,153    10,150       3,419        6,731
1966    58,406     48,399   42,263       1,163      4,973    10,007       3,299        6,708
1965    57,436     47,838   41,689       1,167      4,982     9,598       3,277        6,321
1964    56,149     47,381   41,341       1,204      4,836     8,768       2,965        5,803
1963    55,270     46,872   40,888       1,295      4,689     8,398       2,838        5,560
1962    54,764     46,262   40,404       1,268      4,590     8,502       2,932        5,570
1961    53,557     45,383   39,620       1,199      4,564     8,174       2,779        5,395
1960    52,799     44,905   39,254       1,228      4,422     7,895       2,716        5,179
1959    51,435     43,971   38,410       1,285      4,276     7,464       2,449        5,015
1958    50,474     43,426   37,911       1,278      4,237     7,047       2,329        4,718
                             Case 3:18-cv-00828-MHL Document 10-9 Filed 03/19/19 Page 3 of 4 PageID# 136


1957                49,673      43,262       37,718             1,241          4,304         6,411            2,038             4,374
1956                48,902      42,593       37,047             1,408          4,138         6,309            2,058             4,250
1955                47,874      41,732       36,251             1,328          4,153         6,142            2,059             4,083
1954                46,962      40,998       35,926             1,315          3,757         5,964            1,925             4,039
1953                46,385      40,540       35,577             1,206          3,757         5,845            1,902             3,943
1952                45,538      40,235       35,164             1,119          3,952         5,303            1,757             3,546
1951                44,673      39,502       34,391             1,154          3,957         5,171            1,732             3,439
1950                43,554      38,838       34,075             1,169          3,594         4,716            1,668             3,048
1949                42,182      38,080       33,257             1,197          3,626         4,102            1,308             2,794
1948                40,532      36,629       31,900             1,020          3,709         3,903            1,198             2,705
1947                39,107      34,964       30,612             1,129          3,223         4,143            1,388             2,755
1940d               34,949      31,491       26,571             1,510          3,410         3,458            1,599             1,859


Source: U.S. Census Bureau, Current Population Survey, March and Annual Social and Economic Supplements.

r Revised based on population from the most recent decennial census.
a Data based on 1988 revised processing.
b Incorporates Hispanic-origin population controls.
c Revised using population controls based on the 1980 census.
d Based on 1940 census.
e This data is from the expanded CPS sample and uses population controls based on Census 2000.
s The 2014 CPS ASEC included redesigned questions for income and health insurance coverage. All of the approximately 98,000
addresses were selected to receive the improved set of health insurance coverage items. The improved income questions were
implemented using a split panel design. Approximately 68,000 addresses were selected to receive a set of income questions
similar to those used in the 2013 CPS ASEC. The remaining 30,000 addresses were selected to receive the redesigned income
questions. The source of data for this table is the CPS ASEC sample of 98,000 addresses.



Note: This table uses the householder's person weight to describe characteristics of people living in households. As a result,
estimates of the number of households do not match estimates of housing units from the Housing Vacancy Survey (HVS). The
HVS is weighted to housing units, rather than the population, in order to more accurately estimate the number of occupied and
vacant housing units. If you are primarily interested in housing inventory estimates, then see the published tables and reports here:
http://www.census.gov/housing/hvs/. If you are primarily interested in characteristics about the population and people who live in
households, then see the H table series and reports here: http://www.census.gov/hhes/families/data/cps.html.

FOR FURTHER INFORMATION contact:
Fertility and Family Statistics Branch
                          Case 3:18-cv-00828-MHL Document 10-9 Filed 03/19/19 Page 4 of 4 PageID# 137


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